




Dismissed and Memorandum Opinion filed February 21, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed February 21, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-01043-CR

____________

&nbsp;

WILLIAM JONATHAN HOCH,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
212th District Court

Galveston County,
Texas

Trial Court Cause No.
03CR1989

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed February 21, 2008.

Panel consists of Justices Yates,
Guzman, and Brown.

Do not publish C Tex.
R. App. P. 47.2(b).





